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4                                  UNITED STATES DISTRICT COURT

5                           FOR THE EASTERN DISTRICT OF CALIFORNIA

6
     UNITED STATES OF AMERICA,                                1:11-cr-00354-020 LJO
7
                             Plaintiff,                       ORDER REFERRING CASE TO
8                                                             OFFICE OF FEDERAL DEFENDER
                       v.                                     (Doc. 563)
9
     JESUS RAMON SERRANO,
10
                             Defendant,
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            On February 17, 2015, Jesus Ramon Serrano (“Defendant”) filed a motion requesting the
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     assistance of counsel for the purposes of requesting a reduction in his sentence pursuant to 18 U.S.C. §
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     3582(c)(2) and Amendment 782 to the United States Sentencing Commission Guidelines (“§ 3582
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     Motion”). Doc. 563. There is no statutory or constitutional right to counsel for a § 3582 Motion. See
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     United States v. Webb, 565 F.3d 789, 795 (11th Cir. 2009). Nevertheless, pursuant to Eastern District of
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     California General Order 546, this Court automatically refers pro se motions filed pursuant to § 3582 to
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     the Office of the Federal Defender. In this case, although no formal pro se petition has been filed,
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     Defendant’s motion for appointment of counsel raises the issue with enough specificity to trigger
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     General Order 546. Defendant’s eligibility for relief under Amendment 782 can be readily ascertained
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     from the record. Accordingly, this case is referred to the Office of the Federal Defender, so that Office
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     can determine whether Defendant is eligible for relief, and, if so, may enter an appearance on
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     Defendant’s behalf.
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            The Federal Defender shall elect whether or not to enter an appearance on Defendant’s behalf on
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     or before March 31, 2015. If the Federal Defender enters an appearance on Defendant’s behalf, the
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              Case 1:11-cr-00354-JLT
     Federal Defender                       Document
                      shall file a formal § 3582 motion564
                                                        on or Filed
                                                              before02/25/15    PageIf2the
                                                                     April 30, 2015.    of Federal
                                                                                           2       Defender
1

2    does not enter an appearance on Defendant’s behalf, Defendant is free to file a pro se § 3582 Motion.

3           The Clerk of Court is directed to serve a copy of this order on the Federal Defender’s Office and

4    the United States Attorney’s Office.

5    IT IS SO ORDERED.

6       Dated:     February 25, 2015                        /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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